Court of Appeals
of the State of Georgia

                                       ATLANTA,____________________
                                                August 21, 2024

The Court of Appeals hereby passes the following order:

A24A1825. EDISON v. GEORGIA DEPARTMENT OF HUMAN SERVICES
    DIVISION OF CHILD SUPPORT SERVICES et al.

      The above-styled appeal was docketed in this Court on July 15, 2024. Pursuant
to Rule 23 (a) of the Court of Appeals the Appellant’s brief was to be filed in this
Court by August 5, 2024. The Appellant failed to file a motion for extension of time
or a timely brief. Instead, the Appellant filed an untimely brief on August 19, 2024.
     This appeal is hereby DISMISSED. See Court of Appeals Rules 16 (b), 23 (a).

                                       Court of Appeals of the State of Georgia
                                         Clerk’s Office, Atlanta,____________________
                                                                     08/21/2024
                                                  I certify that the above is a true extract from
                                       the minutes of the Court of Appeals of Georgia.
                                                 Witness my signature and the seal of said court
                                       hereto affixed the day and year last above written.


                                                                                         , Clerk.
